      Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09    Page 1 of 36




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                 Plaintiff,            )
                                       )
      v.                               )                 Case No. 07-20072-01-JWL
                                       )
JEREMY JAMES GARROD                    )
                                       )
                 Defendant.            )
                                       )
______________________________________ )


                            MEMORANDUM AND ORDER

I. Background

       In April 2008, Mr. Jeremy Garrod pled guilty to conspiring to distribute and

possession with the intent to distribute more than fifty grams of methamphetamine, in

violation of 21 U.S.C. § 846. Mr. Garrod signed a plea agreement in which he waived

the right to appeal his sentence if it fell within the range recommended by the sentencing

guidelines and the right to challenge his sentence by collaterally attacking it pursuant to

28 U.S.C. § 2255, except as limited by United States v. Cockerham, 237 F.3d 1179, 1187

(10th Cir. 2001). In July 2008, Mr. Garrod was sentenced to a 360-month term of

imprisonment. He did not file a direct appeal. Instead, in June 2009, Mr. Garrod filed a

petition to vacate, set aside or correct his sentence under 28 U.S.C. § 2255 (Doc. 471).

In his petition, Mr. Garrod contends that he should be permitted to withdraw his guilty

plea because (1) the government breached the plea agreement by failing to recommend an


                                              1
      Case 2:07-cr-20072-JWL        Document 501        Filed 12/02/09     Page 2 of 36




additional reduction for acceptance of responsibility under U.S.S.G. § 3E1.1(b) and by

requesting an upward departure; (2) he was subjected to a double jeopardy violation

because counts one and thirty-seven of the indictment charged him with separate drug

conspiracies when only one conspiracy existed; (3) his criminal history was improperly

calculated; (4) his sentence was improperly enhanced for being an organizer or leader

under U.S.S.G. § 3B1.1(a); (5) his sentence was improperly enhanced for possession of a

firearm; (6) his sentence was improperly based upon an inaccurate calculation of drug

quantity; and (7) his attorney committed various errors that cumulatively constitute

ineffective assistance of counsel. As to each of the first six issues raised, Mr. Garrod

asserts that the Court committed error and that his counsel rendered constitutionally

deficient assistance. As to the latter, he asserts that he received ineffective assistance of

counsel in connection with the plea process because counsel failed to explain to him the

various issues he raised in his § 2255 petition prior to entering into the plea agreement.

He additionally asserts that his counsel provided ineffective assistance at sentencing

because he was not knowledgeable of these issues and failed to object to them.1 In

response, the government filed a motion to enforce the waiver contained in the plea

1
  In his §2255 petition, Mr. Garrod also contends that his counsel was ineffective for not
filing a direct appeal on his behalf. An attorney’s failure to file a direct appeal despite a
request to do so qualifies as ineffective assistance. See United States v. Davis, 929 F.2d
554, 557 (10th Cir. 1991) (“‘A defendant is denied effective assistance of counsel if he
asks his lawyer to perfect an appeal and the lawyer fails to do so by failing to file a brief,
a statement of appeal, or otherwise.’”) (quoting Abels v. Kaiser, 913 F.2d 821, 823 (10th
Cir. 1990). However, Mr. Garrod provides no factual support for this contention and
does not reassert this as one of the seven “issues” raised in his § 2255 petition. He did
not even allege that he directed his attorney to file an appeal. Therefore, this claim lacks
the specificity needed to determine whether his counsel was deficient in this manner and
whether the deficiency, if any, prejudiced Mr. Garrod.
                                               2
      Case 2:07-cr-20072-JWL        Document 501      Filed 12/02/09    Page 3 of 36




agreement (Doc. 478), asserting that it did not breach the plea agreement and that the

claims alleged in Mr. Garrod’s § 2255 motion fall within the waiver of rights contained in

the plea agreement. The government specifically contends that any alleged ineffective

assistance of counsel did not occur in connection with negotiation of the plea agreement

and therefore falls outside the limitations of Cockerham. Moreover, the government

asserts that regardless of whether Mr. Garrod’s claims fall within the exception in

Cockerham, Mr. Garrod cannot establish that his counsel was constitutionally deficient.

In addition, the government requests that this Court enforce the waiver contained within

the plea agreement because it was knowingly and voluntarily entered into, and enforcing

it would not result in a miscarriage of justice.


       For the reasons given below, the Court concludes that the government did not

breach the plea agreement. In addition, the Court finds that Mr. Garrod’s ineffective

assistance claims either fall within the scope of his waiver or do not satisfy the two-prong

test enunciated by the Supreme Court in Strickland v. Washington, 466 U.S. 668 (1984),

and that enforcement of the waiver will not result in a miscarriage of justice.2 Thus, Mr.

Garrod’s petition is denied and the government’s motion to enforce is granted.




2
  Mr. Garrod filed an additional “exhibit” (supplement) to his reply to the government’s
motion to enforce the plea agreement waiver on November 20, 2009, nearly one month
after his response deadline. (Doc. 499). As Mr. Garrod did not timely file the
supplement and did so without the Court’s approval, the Court does not consider it for
purposes of deciding the merits of the present motion to enforce. Nonetheless, the Court
reviewed the “exhibit” and concludes that it does not provide any additional evidence or
arguments that would lead this Court to conclude otherwise.
                                               3
      Case 2:07-cr-20072-JWL       Document 501       Filed 12/02/09    Page 4 of 36




II. Analysis

A. Breach of the Plea Agreement

       If the government breached its obligations under the plea agreement, Mr. Garrod’s

waiver of rights may not be enforced. United States v. Rodriguez-Rivera, 518 F.3d 1208,

1212 (10th Cir. 2008). There is a two-step analysis for determining whether the

government breached a plea agreement: the Court (1) “examines the nature of the

promise and (2) evaluates the promise in light of the defendant’s reasonable

understanding of the promise at the time of the guilty plea.” United States v. Villa-

Vazquez, 536 F.3d 1189, 1196 (10th Cir. 2008) (quoting United States v. Guzman, 318

F.3d 1191, 1195-96 (10th Cir. 2003)). The government’s obligations under the plea

agreement are defined by “general principles of contract law,” looking to the express

language of the agreement. Id. Moreover, any ambiguities are construed against the

government, as the drafter of the agreement. Id.


       Under the terms of the plea agreement, the government agreed to recommend to

the Court that Mr. Garrod receive a two level reduction for acceptance of responsibility.

(Doc. 314 at 10). The government also agreed to request an additional one level

reduction under U.S.S.G. § 3E1.1(b) if Mr. Garrod’s offense level turned out to be 16 or

greater, because Mr. Garrod “timely notified the government of his intention to enter a

plea of guilty.” (Doc. 314 at 10). The government additionally agreed to not request an

upward departure from the applicable guideline range provided Mr. Garrod did not

request a downward departure. At sentencing, the government requested that Mr.

Garrod’s sentence not be reduced two levels for acceptance of responsibility on the
                                             4
      Case 2:07-cr-20072-JWL       Document 501       Filed 12/02/09    Page 5 of 36




grounds that Mr. Garrod had frivolously contested the applicable drug quantity and his

relevant conduct. The government also did not move for the additional one level

reduction under § 3E1.1(b) although Mr. Garrod’s offense level exceeded 16, instead

requesting that the Court sentence Mr. Garrod to life imprisonment.3


       The Court determined that Mr. Garrod’s sentence should nonetheless be reduced

by the two levels for acceptance of responsibility, concluding that he had not frivolously

contested the calculation of his base offense level, as alleged by the government.

However, as the government did not move for the additional one level reduction for

acceptance of responsibility, the Court did not have the authority to award such a

reduction and did not do so. Mr. Garrod therefore received only the two level reduction

for accepting responsibility. (Doc. 430 at 6, 12). The Court sentenced Mr. Garrod to 360

months of imprisonment.


       Although the government did not request the additional one level reduction under

U.S.S.G. § 3E1.1(b), it did not breach the plea agreement by failing to do so. The plea

agreement explicitly provided that the government’s obligation to request such a

reduction was “contingent upon the defendant’s continuing manifestation of acceptance

of responsibility as determined by the United States.” (Doc. 314 at 11). It also permitted

the government to withdraw any recommendation made if the defendant gave conflicting

3
 The Presentence Investigation Report concluded Mr. Garrod’s offense level should be a
41, taking into account the additional one level reduction under U.S.S.G. § 3E1.1(b). At
sentencing, the government argued that Mr. Garrod’s offense level should be 44. With
Mr. Garrod’s criminal history category, that would have placed him at a sentencing range
of 360 months to life.
                                             5
      Case 2:07-cr-20072-JWL       Document 501       Filed 12/02/09    Page 6 of 36




statements of his involvement, falsely denied or frivolously contested relevant conduct

the Court determined to be true, willfully obstructed or impeded the administration of

justice, as defined by U.S.S.G. § 3C1.1, or engaged in additional criminal conduct. (Doc.

314 at 11). The government concluded that Mr. Garrod’s conduct during sentencing

demonstrated that he no longer accepted responsibility for his actions. Specifically, the

government found the following actions of Mr. Garrod contrary to his prior acceptance of

responsibility: frivolously contesting relevant conduct, moving for a downward departure

and a sentence outside of the advisory guidelines,4 disputing the scope of his involvement

and role in the conspiracy, obstructing the administration of justice, and engaging in

release violations. The explicit terms of the plea agreement gave the government the

discretion to determine when Mr. Garrod no longer accepted responsibility for his

conduct and the government therefore did not breach its obligations under the plea

agreement by exercising such discretion and refusing to move for the additional one level

reduction. See United States v. Moreno-Trevino, 432 F.3d 1181, 1186 (10th Cir. 2005)

(concluding that the government did not breach a plea agreement where it refused to

recommend a § 3E1.1 reduction where the plea agreement provided it with the discretion

to determine whether the defendant’s conduct warranted such a reduction). See also

United States v. McArthur, 224 Fed. App’x 832, 838 (10th Cir. May 21, 2007)

(unpublished opinion) and United States v. Villarreal, 2009 WL 3526561, at * 4 (10th Cir.

Nov. 2, 2009) (unpublished opinion) (concluding the government did not breach a plea

4
 Mr. Garrod filed a motion prior to sentencing, requesting a downward departure for
providing “substantial assistance,” as the government had not filed a motion under
U.S.S.G. § 5K1.1.
                                             6
      Case 2:07-cr-20072-JWL       Document 501       Filed 12/02/09    Page 7 of 36




agreement requiring it to seek a downward departure for substantial assistance where the

government had to do so only if it determined that he had provided substantial

assistance). “Simply because the government exercised its contractual discretion to reach

a result unwanted by [Mr. Garrod] does not mean that a breach occurred.” McArthur,

224 Fed. App’x at 838.


       In support of his assertion that the government did breach the plea agreement, Mr.

Garrod points to the Court’s obligation to evaluate the promise in the plea agreement “in

light of the defendant’s reasonable understanding of the promise at the time of the guilty

plea.” According to Mr. Garrod, his attorney advised him at the time he pled guilty that

he would be guaranteed the two level reduction for acceptance of responsibility as well as

the additional one level reduction under U.S.S.G. § 3E1.1(b). However, under the

applicable standard, the Court must consider whether the language of the plea agreement

and surrounding circumstances would cause a defendant to reasonably believe the

government had obligated itself to request a reduction, rather than merely whether the

defendant subjectively believed it had. See Moreno-Trevino, 432 F.3d at 1187. See also

United States v. Heaps, 1999 WL 285907, at *3 (10th Cir. May 7, 1999) (unpublished

opinion) (noting that while a defendant’s reasonable understanding must be given

deference, the defendant’s interpretation was “plainly unreasonable” in light of the

“overall context of the sentencing proceedings”) (citing United States v. Rourke, 74 F.3d

802, 806 (7th Cir. 1996)). As the plea agreement explicitly qualified the government’s

obligation to recommend the three reductions upon Mr. Garrod’s continued acceptance of


                                             7
      Case 2:07-cr-20072-JWL       Document 501      Filed 12/02/09    Page 8 of 36




responsibility, and granted the government the authority to determine when Mr. Garrod

no longer accepted responsibility, Mr. Garrod lacked reasonable grounds for believing

the government had unqualifiedly guaranteed a three level reduction.5 See Moreno-

Trevino, 432 F.3d at 1187. If counsel provided incorrect information regarding the plea

agreement terms, it might constitute ineffective assistance of counsel in connection with

the negotiation of the plea agreement, but cannot change what the government obligated

itself to do.


       In addition, the government did not breach the plea agreement by requesting that

the Court sentence Mr. Garrod to life imprisonment. According to Mr. Garrod, the

government’s request that the Court sentence Mr. Garrod to life imprisonment pursuant

to an offense level of 44 constituted a request for an upwards departure from the

applicable guidelines range, in violation of the plea agreement. In the plea agreement,

the government agreed “to not request an upward departure from the applicable

sentencing guideline range” if the defendant agreed “not to request a downward

departure.” (Doc. 314 at 10). Mr. Garrod in fact requested a downward departure prior

to sentencing on the basis that the government had not filed a motion regarding his

alleged “substantial assistance.” (Doc. 336). Moreover, the government did not request

an upward departure from the applicable guidelines range by seeking a life sentence.

5
  The Court also notes that Mr. Garrod’s applicable sentencing range would have
remained the same even if the government had moved for the additional one level
reduction under § 3E1.1(b). With a criminal history category II, an offense level of either
41 or 42 placed Mr. Garrod at a guideline range of 360 months to life. The Court noted
at sentencing that the government’s failure to move for the additional one point would not
have affected the sentencing range.
                                            8
      Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09   Page 9 of 36




Rather, the government requested that the Court sentence Mr. Garrod pursuant to a

particular offense level—a level of 44—for which the guidelines provide for a life

sentence. By seeking a life sentence, the government requested a sentence within the

applicable guideline range for that particular offense level. The government, in other

words, sought an upwards adjustment in the offense level, but did not request a

departure—a sentence above the applicable guidelines range.6 As the plea agreement did

not prohibit the government from requesting sentencing adjustments that would increase

Mr. Garrod’s sentence, the government did not breach the plea agreement by doing so.

See United States v. Walling, 982 F.2d 447, 449 (10th Cir. 1992) (concluding that the

government did not breach its obligation under the plea agreement to not seek an upward

departure from the guideline range, where it presented evidence in favor of an upward

adjustment for obstruction of justice). See also United States v. Young, 206 Fed. App’x

779, 783, 2006 WL 3411450, at * 3 (10th Cir. Nov. 28, 2006) (unpublished opinion)

(concluding that the government did not breach a plea agreement prohibiting it from

seeking an upward departure if the defendant agreed not to request a downward departure

where the government requested sentencing adjustments based upon the defendant’s role

in the offense and his status as a career offender).




6
 An adjustment is a “change[] to the total offense level calculated under the guidelines,
while a departure is a sentence imposed outside the designated guideline range.” United
States v. Walling, 982 F.2d 447, 449 (10th Cir. 1992)
                                              9
     Case 2:07-cr-20072-JWL       Document 501       Filed 12/02/09    Page 10 of 36




B. Enforceability of the Waiver

       Because the government did not breach the plea agreement with Mr. Garrod, the

Court must determine whether the waiver provision within the plea agreement bars Mr.

Garrod’s claims of court error and ineffective assistance of counsel. The court will hold a

defendant and the government to the terms of a lawful plea agreement. United States v.

Arevalo-Jimenez, 372 F.3d 1204, 1207 (10th Cir. 2004); United States v. Atterberry, 144

F.3d 1299, 1300 (10th Cir. 1998). Thus, a knowing and voluntary waiver of § 2255 rights

in a plea agreement is generally enforceable. United States v. Cockerham, 237 F.3d

1179, 1181 (10th Cir. 2001). The Tenth Circuit has adopted a three-pronged analysis for

evaluating the enforceability of such a waiver, in which the court must determine: (1)

whether the disputed issue falls within the scope of the waiver, (2) whether the defendant

knowingly and voluntarily waived his rights, and (3) whether enforcing the waiver would

result in a miscarriage of justice. See United States v. Hahn, 359 F.3d 1315, 1325 (10th

Cir. 2004) (en banc) (per curiam), cert. denied, 129 S. Ct. 212 (2008).7




7
  Mr. Garrod states that he “does not believe the three-prong enforcement analysis” in
Hahn should be applied by this Court. Mr. Garrod contends that he cannot discover
whether the Hahn analysis applies to § 2255 petitions because the case the government
cited in support of this, United States v. Kutilek, No. 07-3275, 260 Fed. App’x 139, 143
2008 WL 109343, at *2 (10th Cir. Jan. 11, 2008), is an unpublished decision, allegedly
inaccessible to him through the prison library. However, published decisions of this
Court also apply the Hahn analysis to § 2255 petitions. See, e.g., United States v. Young,
557 F. Supp. 2d 1216, 1220 (D. Kan. 2008). Therefore, the Court finds Mr. Garrod’s
assertion that the government attempted to “invent” such law wholly unfounded.
                                            10
     Case 2:07-cr-20072-JWL       Document 501       Filed 12/02/09    Page 11 of 36




Scope of the Waiver


      In determining whether the disputed issues fall within the scope of the waiver, the

court begins with the plain language of the plea agreement. United States v. Anderson,

374 F.3d 955, 957 (10th Cir. 2004); Hahn, 359 F.3d at 1328. The provision in the plea

agreement by which Mr. Garrod waived his right to collaterally attack his sentence states

as follows:


      The defendant knowingly and voluntarily waives any right to appeal or collaterally

      attack any matter in connection with this prosecution, the defendant’s conviction,

      or the components of the sentence to be imposed herein (including the length and

      conditions of supervised release, as well as any sentence imposed upon a

      revocation of supervised release). The defendant is aware that Title 18, U.S.C. §

      3742 affords a defendant the right to appeal the conviction and sentence imposed.

      By entering into this agreement, the defendant knowingly waives any right to

      appeal a sentence imposed which is within the guideline range determined

      appropriate by the court. The defendant also waives any right to challenge a

      sentence or otherwise attempt to modify or change his sentence or manner in

      which it was determined in any collateral attack, including, but not limited to, a

      motion brought under Title 28, U.S.C. § 2255 [except as limited by United States

      v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)], a motion brought under Title

      18, U.S.C. § 3582(c)(2) and a motion brought under Fed. Rule of Civ. Pro 60(b).

      In other words, the defendant waives the right to appeal the sentence imposed in

                                            11
     Case 2:07-cr-20072-JWL         Document 501       Filed 12/02/09     Page 12 of 36




       this case except to the extent, if any, the court departs upwards from the applicable

       sentencing guideline range determined by the court. However, if the United States

       exercises its right to appeal the sentence imposed as authorized by Title 18, U.S.C.

       § 3742(b), the defendant is released from this waiver and may appeal the sentence

       received as authorized by Title 18, U.S.C. § 3742(a).


(Doc. 314 at 14-15).


       The plea agreement is construed “according to contract principles and what the

defendant reasonably understood when he entered his plea.” Arevalo-Jimenez, 372 F.3d

at 1206 (internal quotation and citations omitted). The court strictly construes the waiver

and resolves any ambiguities against the government and in favor of the defendant.

Hahn, 359 F.3d at 1343.


       Mr. Garrod waived his right to collaterally attack a sentence within the applicable

guideline range through a § 2255 motion, except for claims of ineffective assistance of

counsel challenging the validity of the plea or the waiver under United States v.

Cockerham. Cockerham, 237 F.3d at 1183. Therefore, Mr. Garrod clearly waived the

right to raise his claims of ineffective assistance that relate to sentencing and his claims

of court error during the sentencing process. These claims bear on Mr. Garrod’s sentence

and do not involve the validity of his plea or waiver. However, Mr. Garrod also contends

that he received ineffective assistance of counsel in the negotiation of the plea agreement

because his attorney failed to inform him at the time he entered his plea of the various



                                              12
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09     Page 13 of 36




issues he raised in his § 2255 petition.8 Therefore, the Court addresses whether these

latter claims of ineffective assistance fall within the scope of the exception contained in

United States v. Cockerham.


                               Breach of the Plea Agreement


       As regards the government’s alleged breach of the plea agreement, Mr. Garrod

asserts that his counsel provided ineffective assistance because (1) he failed to object to

the government’s breach, and (2) he did not adequately comprehend or explain to Mr.

Garrod the issues involved with a breach of the plea agreement so as to properly advise

Mr. Garrod of the “options available” before Mr. Garrod entered into the plea agreement.


       As the Court noted above, the government did not breach the plea agreement

either by failing to request the additional one point downward departure under U.S.S.G. §

3E1.1(b) or by seeking an upward departure. Even if such a breach occurred, counsel’s


8
  As discussed above, these issues include: (1) the government’s alleged breach of the
plea agreement by failing to recommend an additional one point reduction and by
requesting an upwards departure from the applicable guidelines range; (2) the alleged
double jeopardy violation that occurred because of the charges contained in counts one
and thirty-seven of the indictment; (3) the improper enhancement of Mr. Garrod’s
sentence due to an incorrect calculation of his criminal history category; (4) the improper
enhancement of Mr. Garrod’s sentence based upon an adjustment for his role in the
offense as an “organizer or leader”; (5) the improper enhancement of his sentence for
possession of a firearm; (6) the improper enhancement of his sentence based upon an
incorrect calculation of drug quantity; and (7) the cumulative errors of his counsel. For
each of the first six, Mr. Garrod contends that he would not have pled guilty but rather
would have insisted upon going to trial had his attorney advised him of the issue. He
asserts that these six issues were “defenses” his counsel failed to notify him of, contrary
to his Petition to Enter Plea of Guilty, which provided: “my lawyer has counseled and
advised me on the nature of each charge, on all lesser included charges, and all possible
defenses that I might have in this case” (emphasis added).
                                             13
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09    Page 14 of 36




asserted failure to object would not relate to the validity of Mr. Garrod’s plea or waiver.

Rather, it would constitute an error of counsel at sentencing, a claim of error which

clearly falls within the scope of Mr. Garrod’s waiver. Moreover, Mr. Garrod cannot

assert a claim based upon his attorney’s failure to notify him during the plea process of

the “issues” raised by a breach of the plea agreement9 because when Mr. Garrod executed

the plea agreement, the government had not yet committed the alleged breach and no

such “defense” therefore existed. His counsel cannot be considered constitutionally

deficient for failing to explain to him the ramifications of a plea agreement breach which

had not yet occurred. Despite Mr. Garrod’s attempts to construe this claim of error as

falling within the scope of the Cockerham exception, the essence of his claim is that his

attorney failed to object to the plea agreement breach, and as noted above, such a claim

simply does not relate to the negotiation of the plea agreement or waiver.


       However, Mr. Garrod did state that his counsel advised him at the time he entered

into the plea agreement that he would be “guaranteed” a two level reduction for

acceptance of responsibility as well as a one level reduction under U.S.S.G. § 3E1.1(b).10

As the plea agreement Mr. Garrod executed actually made the reductions contingent upon

his continued acceptance of responsibility, Mr. Garrod’s pro se pleadings could be

9
  Mr. Garrod appears to argue that his counsel failed to notify him during the plea process
of the “defense” that the government breached the plea agreement because he argues that
his attorney incorrectly informed him there were no possible defenses and failed to
inform him of the “seven (7) grounds/issues contained within [his] § 2255” petition.
(Doc. 497 at 4).
10
   Mr. Garrod did not assert this as a basis for ineffective assistance of counsel but rather
attempted to use his attorney’s explanation to demonstrate his subjective understanding
of the plea agreement terms, as noted above.
                                             14
     Case 2:07-cr-20072-JWL       Document 501       Filed 12/02/09    Page 15 of 36




liberally construed as alleging ineffective assistance based upon his attorney’s erroneous

advice regarding the impact of the plea agreement terms. Such a claim would seemingly

relate to the validity of the plea or waiver and would therefore be excluded from the

waiver he executed. See United States v. Kutilek, 260 Fed. App’x 139, 146-47, 2008 WL

109343, at *5 (10th Cir. Jan. 11, 2008) (unpublished opinion) (addressing a claim of

ineffective assistance for failure to explain a mandatory minimum on the merits). See

also United States v. Villarreal, 2009 WL 3526561, at *4 (10th Cir. Nov. 2, 2009)

(unpublished opinion) (noting that if counsel misled the defendant to believe he would

receive a downward departure for substantial assistance, and the misrepresentations

caused the defendant to plead guilty, the defendant’s claim of error challenged the

validity of the plea). Consequently, the Court will discuss this claim on the merits below.


                                    Double Jeopardy


       Mr. Garrod also contends that he was denied constitutionally adequate counsel

because his attorney failed to notify him of the “double jeopardy issue” raised by the

indictment.11 Mr. Garrod contends that the indictment impermissibly charged him twice

with the commission of the same offense (conspiracy).12 In other words, he asserts that

11
   Mr. Garrod contends that he would not have pled guilty had he realized he could not be
convicted on both count 1 and count 37 of the superseding indictment. The government
actually moved to dismiss all but count 1 at the time Mr. Garrod pled guilty, and he
therefore pled guilty only to count 1, as provided for by the plea agreement. However,
the Court could liberally construe Mr. Garrod’s assertions as an argument that he was
induced to plead guilty by the government’s promise to drop count 37, and had he known
of its invalidity, he would not have done so. See, e.g., Kutilek, 260 Fed. App’x at 146.
12
   The government states that it did not charge Mr. Garrod with the commission of a
conspiracy in count 37, but rather with attempt to possess, an underlying offense of the
                                            15
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09     Page 16 of 36




the indictment was impermissibly multiplicious. See United States v. Wood, 57 F.3d 913,

919 (10th Cir. 1995) (“[M]ultiplicity occurs when more than one count of an indictment

cover [sic] the same criminal behavior. Multiplicious counts are improper because they

allow multiple punishments for a single offense.”) (citing United States v. Morehead, 959

F.2d 1489, 1505 (10th Cir. 1992), reheard en banc on other grounds, 971 F.2d 1461 (10th

Cir. 1992)). Although this alleged error in the indictment existed at the time Mr. Garrod

entered into the plea agreement, the Tenth Circuit has explained that such a claim of

ineffective assistance does not relate to negotiation of the plea or waiver and therefore

does not fall within the Cockerham exception. Kutilek, 260 Fed. App’x at 146 (stating

that defendant’s claim of ineffective assistance of counsel based upon counsel’s failure to

inform the defendant prior to pleading guilty of an allegedly impermissible “multiplicity

of charges on the same conduct” did not “relate to the negotiation of the plea or waiver.”)

As a result, Mr. Garrod’s waiver of the right to collateral attack bars this claim of

ineffective assistance.13



conspiracy. Count 37 stated that Mr. Garrod “knowingly and intentionally attempted to
possess with intent to distribute more than 5 grams of methamphetamine, in violation of
Title 21 United States Code, Sections 841(a)(1) and (b)(1)(B)(viii) and 846, and Title 18,
United States Code, Section 2.” Mr. Garrod believes that the reference in count 37 to 21
U.S.C. § 846 constituted the second charge of conspiracy in the indictment.
13
   Mr. Garrod cites to a decision from the United States District Court for the Western
District of North Carolina, Burgess v. Griffin, in support of the proposition that the failure
of his attorney to provide him notice of the double jeopardy issues involved constituted
ineffective assistance of counsel and that the plea was therefore not voluntarily and
intelligently entered into. See Burgess v. Griffin, 585 F. Supp. 1564, 1572-73 (W.D.N.C.
1984), aff’d, 743 F.2d 1064 (4th Cir. 1984). Although the District Court in Burgess did
conclude that the plea and conviction were invalid due to counsel’s failure to notify the
defendant that double jeopardy barred his subsequent conviction for the same crimes, the
                                             16
     Case 2:07-cr-20072-JWL       Document 501       Filed 12/02/09    Page 17 of 36




       Moreover, Mr. Garrod could not establish ineffective assistance of counsel based

upon his attorney’s failure to advise him of the allegedly multiplicious charges. In order

to establish a double jeopardy claim based upon a multiplicious indictment, the

“defendant must show that the two offenses charged are in law and in fact the same

offense.” United States v. Gabriele, 106 F.3d 414, 1997 WL 31543, at * 1 (10th Cir. Jan.

27, 1997) (unpublished opinion) (quoting United States v. Richardson, 86 F.3d 1537,

1551-52 (10th Cir. 1996), abrogated on other grounds as recognized in United States v.

Pearce, 146 F.3d 771, 774-75 (10th Cir. 1998)). To determine this, the Court must

consider whether each of the offenses requires “proof of a fact or element not required by

the other.” Id. (quoting United States v. Pace, 981 F.2d 1123, 1134 (10th Cir. 1992)).

The § 846 conspiracy charge in count 1 and the § 841 possession charge in count 37 each

required proof of an element the other did not: the § 846 charge required proof of an

agreement to commit the offense, while the § 841 charge required proof of the possession

of a controlled substance. Indeed, the Tenth Circuit has concluded that charges of

conspiracy and of the underlying substantive drug offenses are not multiplicious. See

Wood, 57 F.3d at 920, n.3 (stating that the defendant could not successfully argue that the

conspiracy and its underlying substantive offenses are multiplicious) and United States v.

Johnson, 977 F.2d 1360, 1371 (10th Cir. 1992) (explaining that “Congress intended to

allow imposition of separate sentences for a conspiracy conviction under 21 U.S.C. § 846

and for the substantive drug offenses that form the object of the conspiracy”). Although

circumstances were very different from those here and the court there did not address the
waiver issue which precludes this Court from further consideration of Mr. Garrod’s
ineffective assistance claim.
                                            17
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09     Page 18 of 36




count 37 did refer generally to § 846, the government did not attempt to charge Mr.

Garrod with a conspiracy in count 37, as it did not allege the existence of an unlawful

agreement.14 A mere stray citation to a statutory section which is clearly inapplicable to

the factual allegations can have no effect. See United States v. Serino, 835 F.2d 924, 930

(1st Cir. 1987) (finding the indictment was not multiplicious where the substantive counts

incorporated by reference the conspiracy count, emphasizing the different factual

allegations contained within the counts charging the substantive offenses). See also

United States v. Powell, 173 F.3d 865, 1999 WL 221497, at *2 (10th Cir. Apr. 16, 1999)

(unpublished opinion) (same). Therefore, the counts were not multiplicious and any

objection by counsel to this effect would have been without merit. Consequently, Mr.

Garrod’s counsel cannot be considered constitutionally deficient for failing to notify his

client of the non-issue.


                             Incorrect Criminal History Computation


       Mr. Garrod additionally contends that his criminal history category was

improperly calculated and that his attorney was ineffective (1) for failing to notify him

before he entered a guilty plea of the correct criminal history calculation and (2) for not

objecting to the criminal history computation at sentencing. He asserts that his counsel

was not sufficiently knowledgeable of the applicable facts and law, rendering Mr.



14
  Count 37 stated that Mr. Garrod “knowingly and intentionally attempted to possess
with intent to distribute more than 5 grams of methamphetamine, in violation of Title 21
United States Code, Sections 841(a)(1) and (b)(1)(B)(viii) and 846, and Title 18, United
States Code, Section 2.”
                                             18
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09    Page 19 of 36




Garrod’s plea involuntary. Mr. Garrod claims he would not have executed the plea

agreement had he known of the incorrect criminal history computation.


       Mr. Garrod contends that his criminal history category was incorrectly computed

for two reasons: (1) he had been wrongly convicted of the crime of driving while

intoxicated15 and it was included in the criminal history computation and (2) his criminal

history should not have included a certain conviction for driving while a habitual

offender as it should have been excluded from the computation under U.S.S.G. §

4A1.2(c)(1).16


       Under the terms of the plea agreement he executed, Mr. Garrod clearly waived any

claim that his counsel was constitutionally deficient for failing to object to Mr. Garrod’s
15
   According to Mr. Garrod, the PSI stated that Mr. Garrod had a blood alcohol content of
.83, while he actually had a blood alcohol content of .083. To be convicted of the crime
under the relevant municipal statute, Mr. Garrod need only have had a blood alcohol
content of .08. However, Mr. Garrod claims that breathalyzer equipment has a margin of
error of .01. As the statute criminalized a blood alcohol content of .08 or higher, he
argues that, given the rate of error, he could only have been convicted of the offense if his
blood alcohol content was .09 or higher, which it was not. He complains that his attorney
failed to object to this conviction being used in the calculation of his criminal history
category. He does not state whether he informed his counsel that the PSI incorrectly
listed his blood alcohol content in the first place. According to Mr. Garrod, his counsel
informed him prior to execution of the guilty plea that he would be placed in a criminal
history category II. However, the PSI had not yet been drafted.
16
   U.S.S.G. § 4A1.2(c)(1) generally excludes from the criminal history computation
sentences for certain misdemeanor offenses, including driving without a license or with a
revoked or suspended license. However, it states that a conviction for such an offense
will be counted if the sentence was a term of imprisonment of at least thirty days. Mr.
Garrod was sentenced to 365 days imprisonment for the challenged conviction, but 363
days of that were “suspended.” According to Mr. Garrod, the conviction should not have
been included in the computation because under U.S.S.G. § 4A1.2(b)(2), a “sentence of
imprisonment” includes only that portion not suspended. Since 363 days of his sentence
were suspended, he claims that the “term of imprisonment” for the offense was not “at
least thirty days,” as required for its inclusion in the criminal history computation.
                                             19
     Case 2:07-cr-20072-JWL        Document 501      Filed 12/02/09     Page 20 of 36




criminal history category at sentencing. Such a claim has no relation to the negotiation of

the plea agreement or the waiver and therefore falls outside of the scope of the

Cockerham exception. See United States v. Carver, 2009 WL 3303611, at *3 (10th Cir.

Oct. 15, 2009) (unpublished opinion) (claims that the attorney committed errors at

sentencing do not relate to the validity of the plea). Mr. Garrod’s claim of ineffective

assistance based upon his counsel’s asserted failure to adequately research the criminal

history computation issues and notify him before pleading guilty that he should be within

criminal history category I does more arguably relate to the validity of the plea

agreement. The Court therefore discusses this claim in greater detail below.


      Improper Enhancement for Leadership Role in the Commission of the Offense


       The Court enhanced Mr. Garrod’s sentence by four levels under U.S.S.G. §

3B1.1(a) on the grounds that he qualified as an “organizer or leader” of a criminal

activity involving five or more participants. Mr. Garrod contends that his attorney

provided constitutionally deficient counsel because he did not have sufficient knowledge

of the facts and applicable law to properly calculate the adjustments for Mr. Garrod’s role

in the offense under § 3B1.1 and therefore improperly advised Mr. Garrod to enter into

the plea agreement. He argues that he should only have been considered a “manager or

supervisor” under § 3B1.1 and therefore have received only a three level enhancement for

his role in the offense. He also states that his lawyer informed him that he was simply a

supplier, who had not directed any activities or otherwise acted in a manner warranting

an enhancement under §3B1.1. He asserts that he would not have pled guilty had he been

                                             20
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09    Page 21 of 36




given the “correct information” regarding the application of § 3B1.1. He also appears to

contend that his lawyer did not properly object to his classification as an “organizer or

leader” at sentencing, because he argues that his lawyer provided ineffective assistance

partly in that he failed to “submit a memorandum of law to the Court.” (Doc. 471 at 41).


       However, Mr. Garrod’s attorney did object to his classification as an “organizer or

leader” under § 3B1.1. At sentencing, he argued that Mr. Garrod was simply a supplier

and that he did not have the requisite control over others to qualify as an “organizer or

leader.” Rejecting this argument, the Court concluded that Mr. Garrod “was a leader or

organizer of a criminal activity that certainly involved five or more participants,” noting

that he was “the main man in planning and running this methamphetamine organization

in Franklin County, Kansas.” (Doc. 430 at 9-10). Therefore, any alleged error of counsel

to object at sentencing would be clearly contrary to the record. Moreover, such a claim

would fall within the scope of the waiver Mr. Garrod executed as unrelated to the validity

of the plea.


       On the other hand, Mr. Garrod’s claim of ineffective assistance based upon his

attorney’s failure to properly calculate the adjustment for Mr. Garrod’s role in the offense

so as to appropriately advise him whether to plead guilty more arguably falls within the

scope of the Cockerham exception as a claim of ineffective assistance related to the

validity of Mr. Garrod’s plea.17 Therefore, the Court discusses it on the merits below.



17
  The government cites to United States v. Kutilek, 260 Fed. App’x 139, 147-48 (10th
Cir. Jan. 11, 2008) (unpublished opinion), in support of the proposition that the Tenth
                                             21
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09    Page 22 of 36




                            Improper Adjustment for Use of a Firearm


       Mr. Garrod contends that the Court erred in enhancing his sentence by two levels

for possession of a firearm in relation to a drug trafficking crime under U.S.S.G. §

2D1.1(b)(1). He claims that he did not use or have possession of a weapon during a drug

transaction or permit any member of the conspiracy to possess one,18 and that the Court

therefore could not have properly enhanced his sentence for firearm possession. He

argues that his attorney failed to familiarize himself with U.S.S.G. § 2D1.1(b)(1) so as to

properly advise Mr. Garrod, failed to submit a memorandum of law, and failed to

interview potential witnesses. He asserts that his attorney was ineffective in advising him

to plead guilty, and that he would not have pled guilty had he known that incorrect

information was used to support his firearm enhancement or that the Court would “not

use the correct legal standard” in enhancing his sentence for possession of a firearm.

(Doc. 471 at 45).


       Mr. Garrod’s claims of court error in enhancing his sentence and of attorney error

in failing to submit a memorandum of law or to interview certain potential witnesses fall

within the scope of the waiver he executed, as they do not relate to the validity of his plea

or the waiver. Moreover, the Court notes that while Mr. Garrod claimed he would not

Circuit treats claims alleging ineffectiveness based upon counsel’s inaccurate estimation
of the possible sentence as falling outside of the scope of Cockerham. However, in
Kutilek, the Tenth Circuit addresses whether such alleged errors of counsel qualify as
ineffective assistance of counsel, rather than treating them as outside the scope of
Cockerham altogether. This Court therefore proceeds to do the same.
18
   He contends that since he did not expressly permit any member of the conspiracy to
possess a weapon, he could not have foreseen any such person possessing one, and
therefore cannot be responsible for their having done so.
                                             22
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09    Page 23 of 36




have entered into the plea agreement had his counsel properly informed him that the

Court would err in applying the relevant legal standard and that the firearms enhancement

would therefore apply, such a claim of improper sentencing enhancement most logically

asserts ineffective assistance at sentencing, as the decision of whether to apply a firearms

enhancement is not made until after the plea agreement is entered into. Try as he might,

Mr. Garrod simply cannot take any claim of ineffective assistance and twist it into a

claim falling within the scope of the Cockerham exception. Nonetheless, in light of this

Court’s obligation to narrowly construe Mr. Garrod’s waiver, the Court will consider

below the merits of his claim of ineffective assistance based upon his attorney’s failure to

foresee the future and advise him before he executed the plea agreement that the firearm

enhancement would be applied.


                     Inaccurate Calculation of the Quantity of Drugs


       Mr. Garrod asserts that the Court improperly calculated the quantity of drugs for

which he should have been responsible, resulting in an incorrect computation of the base

offense level. The Court concluded that the quantity of drugs supported a base offense

level of 38. Mr. Garrod believes the actual quantity of drugs involved justified only a

base offense level of 36.19 He contends not only that the Court erred in this regard, but

that his counsel rendered ineffective assistance for failing to have sufficient knowledge of

the issue and for not notifying him of this issue prior to executing the guilty plea. He also
19
  Mr. Garrod contends that the Court erred in arriving at the drug quantity amount by
failing to take into consideration the margin of error and by not erring on the side of
caution when calculating the quantity, citing to United States v. Scheele, 231 F.3d 492,
499 (9th Cir. 2000).
                                             23
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09     Page 24 of 36




states that his attorney was not familiar with the relevant law and facts before Mr. Garrod

executed the plea agreement because he incorrectly informed Mr. Garrod that he would

be held responsible for less than 15 kilograms of methamphetamine, which would result

in a base offense level of only 36. Mr. Garrod also asserts that his counsel failed to

review witness testimony, to attempt to locate witnesses, to argue on the record for the

admission of alibi witness testimony, and to submit a memorandum of law. The Court

notes that Mr. Garrod’s attorney actually objected to the calculation of the base offense

level at 38, arguing that the drug quantity did not support such an offense level.20

Nonetheless, Mr. Garrod contends that he would not have executed the plea agreement

had he “known that incorrect information was being considered” in determining the drug

quantity for which he would be responsible. He also states that he would not have

executed the agreement had he known that the Court would not use the correct legal

standard to determine the base offense level.


       As with many of his other claims, the errors Mr. Garrod alleges with regard to the

calculation of drug quantity generally do not relate to the negotiation of the plea or

waiver. Any error of this Court in calculating the relevant quantity of drugs clearly falls

within the scope of his waiver, as does any error of counsel in failing to review witness

testimony, to locate witnesses, to argue at sentencing for the admission of alibi testimony,

or to submit a memorandum of law. Such alleged errors occurred after Mr. Garrod


20
  Although the Court concluded that Mr. Garrod’s assertions regarding drug quantity
were not frivolous, the Court found that the drug quantity involved did justify a base
offense level of 38.
                                             24
     Case 2:07-cr-20072-JWL         Document 501       Filed 12/02/09      Page 25 of 36




executed the plea agreement and therefore cannot possibly have affected the validity of

the agreement itself. However, Mr. Garrod’s claim of ineffective assistance based upon

his attorney improperly informing him before he executed the plea agreement of the drug

quantity for which he would be held responsible is arguably related to the validity of his

plea, and the court will therefore discuss this in greater detail below.


                               Cumulative Errors of Counsel


       Mr. Garrod contends that his attorney’s cumulative errors resulted in a denial of

the effective assistance of counsel, even if none of the grounds alleged could separately

qualify as ineffective assistance.21 While the government concedes that cumulative error

may result in ineffective assistance, see United States v. Rivera, 900 F.2d 1462, 1469

(10th Cir. 1990), it argues that Mr. Garrod cannot establish such cumulative error as he

has failed to demonstrate even a single error that falls within the Cockerham exception.

However, the Court has chosen to treat several of Mr. Garrod’s claims as arguably related

to the validity of the plea agreement he executed and therefore within the scope of the

Cockerham exception. Therefore, the Court will address below Mr. Garrod’s claim of

cumulative error on the merits.




21
  To support his claim of cumulative error, Mr. Garrod refers to the six errors alleged in
his § 2255 petition and discussed above. He does not assert any new claims of error.
                                              25
     Case 2:07-cr-20072-JWL        Document 501      Filed 12/02/09    Page 26 of 36




Knowing and Voluntary


       For a waiver to be enforceable, the defendant must have knowingly and

voluntarily waived his appeal rights. Hahn, 39 F.3d at 1325. Rather than allege that his

plea was not knowingly or voluntarily entered into, Mr. Garrod contends that this Court

should not apply the three-prong Hahn analysis for enforcement of a waiver. Mr. Garrod

does not contend, therefore, that his counsel failed to explain to him the consequences of

the waiver he executed or that he otherwise did not understand the rights he waived.

Although the defendant has the burden to establish that his plea was not knowingly and

voluntarily entered into, Hahn, 359 F.3d at 1329, the Court will briefly address the issue.


       In determining whether an appellate waiver was made knowingly and voluntarily,

the Court looks primarily to two factors: whether the plea agreement states that the

defendant entered the agreement knowingly and voluntarily and whether there was an

adequate Rule 11 colloquy. Hahn, 359 F.3d at 1325. Both conditions are satisfied here.

The plea agreement signed by Mr. Garrod states that he “knowingly and voluntarily

waives any right to appeal or collaterally attack any matter in connection with this

prosecution, the defendant’s conviction, or the components of the sentence to be

imposed...” (Doc. 314 at 14). See United States v. Leon, 476 F.3d 829, 834 (10th Cir.

2007) (concluding that the defendant failed to show the waiver was unknowing and

involuntary partly because the broad waiver provided the defendant “knowingly and

voluntarily waives any right to appeal or collaterally attack any matter in connection with

this prosecution, conviction and sentence”). Moreover, Mr. Garrod acknowledged that he

                                            26
     Case 2:07-cr-20072-JWL         Document 501       Filed 12/02/09    Page 27 of 36




read the agreement, that he understood it, that it was not the result of threats or coercion,

and that he entered into the agreement and pled guilty “freely and voluntarily.” (Doc.

314 at 16-17).


       In addition, during the plea colloquy, the Court inquired into whether Mr. Garrod

understood the terms of the plea agreement and explained to him the consequences of the

waiver provision. Mr. Garrod acknowledged that he understood the waiver and was

willingly waiving his rights to appeal or collaterally attack the sentence imposed as part

of the plea agreement.22 His affirmation in court of his understanding of the waiver and

willing acceptance of it carries a strong presumption of truth. Blackledge v. Allison, 431

U.S. 63, 74 (1977) (“Solemn declarations in open court [affirming a plea agreement]

carry a strong presumption of veracity. The subsequent presentation of conclusory

allegations unsupported by specifics is subject to summary dismissal, as are contentions

that in the face of the record are wholly incredible”) (citing Machibroda v. United States,

368 U.S. 487, 495-96 (1962) and Price v. Johnston, 334 U.S. 266, 286-87 (1948),

overruled on other grounds by McCleskey v. Zant, 499 U.S. 467 (1991). See also United

States v. Chavez-Salais, 337 F.3d 1170, 1173 (10th Cir. 2003) (the “content of a

defendant’s waiver of appeal rights can be made known to him…through the colloquy

with the court required by Federal Rule of Criminal Procedure 11”).



22
  The Court explained to Mr. Garrod the concept of collateral attack and asked whether
he understood he was giving up that right. Mr. Garrod replied “yes.” The Court then
inquired into whether he was willing to give up that right in exchange for the benefits of
the plea bargain and he replied “yes.” (Doc. 419 at 21-23).
                                              27
     Case 2:07-cr-20072-JWL         Document 501       Filed 12/02/09     Page 28 of 36




Miscarriage of Justice


       Enforcing a waiver results in a miscarriage of justice only if (1) the district court

relied on an impermissible factor such as race, (2) the defendant received ineffective

assistance of counsel in connection with the negotiation of the waiver, (3) the sentence

exceeds the statutory maximum, or (4) the waiver is otherwise unlawful. United States

v. Hahn, 359 F.3d 1315, 1327 (10th Cir. 2004). For a waiver to be otherwise unlawful,

there must be an error that seriously affects the fairness, integrity, or public reputation of

the judicial proceedings. United States v. Olano, 507 U.S. 725, 732 (1993). Mr. Garrod

has the burden to show that enforcement of the plea waiver will result in a miscarriage of

justice. United States v. Anderson, 374 F.3d 955, 959 (10th Cir. 2004). The Court

concludes the following claims of ineffective assistance might arguably relate to the

validity of Mr. Garrod’s plea or waiver: (1) his attorney incorrectly informing him of the

limitations upon his right to a reduction in sentence for acceptance of responsibility; (2)

his attorney informing him before pleading guilty that his criminal history category

would be a II, when he actually should have been within criminal history category I; and

(3) his attorney failing to notify him before he entered a guilty plea of the issues involved

with the enhancement of his sentence for his leadership role in the offense and his

possession of a firearm and the issues involved in the calculation of drug quantity. A

claim of ineffective assistance that relates to the validity of the plea or waiver is expressly

excluded from the waiver Mr. Garrod executed. See United States v. Cockerham, 237

F.3d at1187 (defendant cannot waive the right to bring a § 2255 petition based on


                                              28
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09    Page 29 of 36




ineffective assistance of counsel claims challenging the validity of the plea or the

waiver). Nonetheless, the Court concludes Mr. Garrod cannot establish ineffective

assistance of counsel on any of the asserted bases because he cannot establish that the

alleged errors of counsel resulted in prejudice.


       The constitutional right to effective assistance of counsel is defined in Strickland

v. Washington, 466 U.S. 668 (1984). Under that test, Mr. Garrod must first demonstrate

that his counsel’s performance was deficient, in that it “fell below an objective standard

of reasonableness.” Id. at 688. Second, Mr. Garrod must demonstrate that he was

prejudiced by counsel’s deficient performance. In the context of a guilty plea, this

requires showing a reasonable probability that “but for counsel’s errors, he would not

have pleaded guilty and would have insisted on going to trial.” United States v. Harms,

371 F.3d 1208, 1211 (10th Cir. 2004) (quoting Hill v. Lockhart, 474 U.S. 52, 59 (1985)).

The Court concludes that Mr. Garrod has failed to show he suffered prejudice from any

allegedly deficient performance of his counsel. See Walker v. Gibson, 228 F.3d 1217,

1231 (10th Cir. 2000) (court need not address whether counsel’s performance was

deficient if petitioner cannot demonstrate prejudice), abrogated on other grounds by Neill

v. Gibson, 278 F.3d 1044 (10th Cir. 2001). See also United States v. Hamilton, 510 F.3d

1209, 1216 (10th Cir. 2007) (same) (citing Strickland, 466 U.S. at 697), cert. denied, 128

S. Ct. 1922 (2008). The Court will discuss each claim of ineffective assistance

separately, below.




                                             29
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09     Page 30 of 36




                               Breach of the Plea Agreement


       According to Mr. Garrod, his counsel informed him before he entered into the plea

agreement that he would be “guaranteed” a two-level reduction in sentence for

acceptance of responsibility as well as an additional one-level reduction under U.S.S.G. §

3E1.1(b). As the Court noted above, such a claim could be liberally construed as an

assertion of ineffective assistance of counsel in connection with the negotiation of his

plea. However, Mr. Garrod could not demonstrate that he suffered any prejudice from

the failure of his counsel to explain to him the circumstances under which he would be

entitled to a reduction in sentence pursuant to U.S.S.G. § 3E1.1(b), because he was

otherwise informed of the plea agreement terms and affirmed his understanding of them

during the plea colloquy.


       First, the explicit language of the plea agreement informed Mr. Garrod of the

limitations upon the government’s obligation to request a reduction in sentence under §

3E1.1(b).23 Second, at the plea colloquy, the government explained the plea agreement

terms to the Court, noting that its obligation to request a three level reduction was

contingent upon Mr. Garrod’s continued acceptance of responsibility. (Doc. 419 at 18).

The government also explained that it would not seek an upward departure “as long as”
23
  The plea agreement provided that the government’s obligations were contingent upon
Mr. Garrod’s continued manifestation of acceptance of responsibility and granted the
United States the right to withdraw its recommendations if Mr. Garrod denied his
involvement, falsely denied or frivolously contested relevant conduct, willfully
obstructed the administration of justice, or engaged in additional criminal activity. (Doc.
314 at 11). It also made the government’s agreement not to request an upward departure
dependent upon Mr. Garrod’s agreement not to seek a downward departure, a departure
Mr. Garrod subsequently requested. (Doc. 336).
                                             30
     Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09    Page 31 of 36




Mr. Garrod did not request a downward departure. (Doc. 419 at 18). Subsequently, Mr.

Garrod affirmed that the government’s explanation of the plea agreement was his

understanding of it as well. (Doc. 419 at 19).


       In addition, Mr. Garrod affirmed to the Court that he understood that no one had

the authority to guarantee him a particular sentence, including his attorney.24 He also

represented to the Court that no one had any made promises or guarantees of what his

sentence would be.25 As Mr. Garrod was therefore notified that the plea agreement did

not absolutely “guarantee” he would receive a three level reduction, and affirmed to the

Court that he had not been made any promises or guarantees of what his sentence would

be, the Court concludes Mr. Garrod failed to establish he suffered prejudice from any

alleged failure of his counsel to correctly explain the effect of the plea agreement’s

provisions regarding reductions for acceptance of responsibility. See Hamilton, 510 F.3d

at 1216 (concluding that the defendant could not establish prejudice for a claim of

ineffective assistance based upon counsel’s failure to explain the effect of the career-

offender guidelines on the defendant’s sentence because the defendant affirmed his

understanding that the court could impose a greater sentence than expected and

acknowledged that his attorney had no authority to make promises regarding his


24
   At the plea colloquy, the Court asked Mr. Garrod if he understood that no one was
capable of making “any promises or guarantees” concerning what his sentence would be.
(Doc. 419 at 15).
25
   The Court asked Mr. Garrod if “anybody at all” made him “any promises or
guarantees” regarding what his sentence would actually be. He replied “no.” (Doc. 419
at 16).

                                             31
     Case 2:07-cr-20072-JWL       Document 501       Filed 12/02/09    Page 32 of 36




sentence). See also United States v. Silva, 430 F.3d 1096, 1099 (10th Cir. 2005) (rejecting

an ineffective assistance claim based on counsel’s advice that the defendant was facing a

much shorter sentence than he actually received because the defendant acknowledged in

his plea agreement and during the plea colloquy that he understood sentencing would be

discretionary) and Kutilek, 260 Fed. App’x at 146-47 (concluding the defendant could not

establish prejudice based upon counsel’s failure to advise him of the mandatory minimum

sentence where he was informed of the applicable statutory minimum by the language in

the plea agreement and by the court, and he acknowledged his understanding and agreed

he would still be bound by the plea even if the sentence imposed was more severe than

expected).


                            Incorrect Criminal History Computation


       Mr. Garrod’s claim of ineffective assistance based upon his counsel’s failure to

inform him before executing the plea agreement of his “correct” criminal history

category26 arguably relates to the validity of the plea he executed. Nonetheless, the Court


26
  Mr. Garrod did not state in his § 2255 petition that he properly informed his counsel of
his criminal history. As the PSI had not yet been drafted at the time Mr. Garrod executed
the plea agreement, his counsel’s calculation of a criminal history category II was
apparently based upon the information provided by Mr. Garrod himself. Mr. Garrod
asserts that his attorney failed to investigate the relevant facts prior to advising Mr.
Garrod to plead guilty. For example, he states that he was able to request a copy of the
paperwork for his DUI conviction and the fact that his blood alcohol content was only
.083, and questions why his attorney did not investigate such matters before he executed
the plea agreement. In response to this argument, the Court notes that “[w]hen a
defendant withholds the information required to trigger an investigation into his criminal
history, counsel’s failure to conduct an independent investigation and the related failure
to correctly calculate the potential sentencing range do[es] not constitute deficient
representation.” United States v. Noble, 2009 WL 3437502, at *1 (10th Cir. Oct. 27,
                                            32
      Case 2:07-cr-20072-JWL        Document 501       Filed 12/02/09     Page 33 of 36




concludes that Mr. Garrod cannot demonstrate ineffective assistance of counsel based

upon this alleged error, as Mr. Garrod’s sentencing range would have remained the same

regardless of whether he was sentenced under a criminal history category of I or II.

Under either, the guidelines called for a sentencing range of 360 months to life,27 and Mr.

Garrod was sentenced to 360 months imprisonment, at the low end of the guideline range.

As a result, he cannot establish that any such error of his counsel resulted in prejudice.


     Improper Enhancements for Leadership Role in the Commission of the Offense, for

                      Possession of a Firearm, and for Drug Quantity


        Mr. Garrod asserts that his attorney was constitutionally deficient in failing to

notify him before he executed the plea agreement of the enhancement of his sentence for

his leadership role in the offense and for possession of a firearm.28 As to the



2009) (unpublished opinion) (citing United States v. Rhodes, 913 F.2d 839, 843-46 (10th
Cir. 1990)).
27
   If the challenged offenses were not included within Mr. Garrod’s criminal history
computation, the appropriate criminal history category would have been category I. The
PSI called for Mr. Garrod to be sentenced at a base offense level of 41. However, this
included the additional one-point reduction under U.S.S.G. § 3E1.1(b) that the
government had not yet moved for. As the government did not move for the additional
reduction, Mr. Garrod was properly sentenced with a base offense level of 42. At a base
offense level of 42, the sentencing range would be 360 months to life regardless of
whether the offender was at a criminal history category of I or II.
28
   Mr. Garrod claims that his attorney did not “inform” him of the seven issues he raised
in his § 2255 petition, including the errors in enhancing his sentence. In his briefing for
the Court, however, Mr. Garrod states that his attorney inaccurately estimated the
quantity of drugs for which he would be held responsible and incorrectly informed him
that his sentence would not be enhanced for any role as an “organizer or leader.” Thus, it
appears that his attorney actually did notify him of these issues and simply was incorrect
in his advice as to how the Court would address them. As for the firearms enhancement,
                                              33
     Case 2:07-cr-20072-JWL        Document 501      Filed 12/02/09     Page 34 of 36




enhancement of his sentence for being an “organizer or leader,” he states that his attorney

told him before he pled guilty that he had done nothing that would subject him to the

enhancement, as he did not have the requisite control. Mr. Garrod also asserts that his

counsel did not have sufficient knowledge of the drug quantity issue and incorrectly

informed him that he would be responsible for less than 15 kilograms of

methamphetamine. However, the Tenth Circuit has explained that a “miscalculation or

erroneous sentence estimation by a defense counsel is not a constitutionally deficient

performance rising to the level of ineffective assistance of counsel.” United States v.

Gordon, 4 F.3d 1567, 1570-71 (10th Cir. 1993). See also Fields v. Gibson, 277 F.3d

1203, 1214 (10th Cir. 2002) (“[a]n erroneous sentence estimate by defense counsel does

not render a plea involuntary…And a defendant’s erroneous expectation, based on his

attorney’s erroneous estimate, likewise does not render a plea involuntary.’”) (quoting

Wellnitz v. Page, 420 F.2d 935, 936-37 (10th Cir. 1970)) (internal citations omitted).

Therefore, the errors Mr. Garrod’s counsel made in calculating how the sentencing court

would apply the relevant guidelines do not suffice to establish a claim of ineffective

assistance. See Kutilek, 260 Fed. App’x at 146-47 (concluding that even if defense

counsel incorrectly explained the mandatory minimum, as the defendant alleged, it would

not constitute ineffective assistance of counsel).




Mr. Garrod stated that he was “exposed to incorrect information” before pleading guilty,
but did not otherwise specify what his attorney had told him.
                                             34
     Case 2:07-cr-20072-JWL         Document 501       Filed 12/02/09    Page 35 of 36




                               Cumulative Errors of Counsel


       Mr. Garrod contends that the cumulative errors of his counsel warrant a finding of

ineffective assistance, even if none alone suffice to establish a constitutional violation.

However, “[c]umulative error analysis evaluates the effect only of errors, not the

cumulative effect of nonerrors.” United States v. Cox, 83 F.3d 336, 341-42 (10th Cir.

1996) (citing United States v. Wynne, 993 F.2d 760, 768 (10th Cir. 1993)). As Mr. Garrod

has failed to demonstrate that his counsel’s performance was deficient or prejudicial in

any manner, he has not established a single constitutional error and the cumulative error

analysis is inapplicable.29 See id. (concluding that the defendant could not establish

ineffective assistance on the basis of alleged cumulative errors as he had not

demonstrated any constitutional errors by counsel). See also Parker v. Scott, 394 F.3d

1302, 1327 (10th Cir. 2005) (same).




       There is no other basis for concluding that enforcement of the waiver would result

in a miscarriage of justice. Mr. Garrod has not asserted that the Court acted in reliance

upon his race, that the sentence exceeded the statutory maximum or that the waiver is

otherwise unlawful. Therefore, enforcement of the waiver will not result in a miscarriage

of justice.


29
  The Court recognizes that there could be a scenario in which resolving more than one
ineffective assistance claim solely on lack of prejudice could lead to a different result.
That is, taken together, prejudice could be shown. The Court concludes, however, that
this is not the case here.
                                              35
     Case 2:07-cr-20072-JWL       Document 501       Filed 12/02/09    Page 36 of 36




III. Conclusion


       For the foregoing reasons, the Court denies Mr. Garrod’s claim that he received

ineffective assistance of counsel in connection with the negotiation of his plea. Having

concluded that enforcing the waiver contained in Mr. Garrod’s plea agreement will not

result in a miscarriage of justice, the Court grants the government’s motion to enforce.




       IT IS THEREFORE ORDERED BY THE COURT that Mr. Garrod’s motion

to vacate, set aside or correct his sentence pursuant to 28 U.S.C. § 2255 (Doc. #471) is

denied and the government’s motion to enforce Mr. Garrod’s plea agreement (Doc. #478)

is granted.




IT IS SO ORDERED this 2nd day of December, 2009.




                                          s/ John W. Lungstrum
                                          John W. Lungstrum
                                          U.S. District Judge




                                            36
